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                                  SO ORDERED: February 27, 2012.




                                  ______________________________
                                  Basil H. Lorch III
                                  United States Bankruptcy Judge




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                      NEW ALBANY DIVISION

 In re:                                                              )   Chapter 11
                                                                     )
 EASTERN LIVESTOCK CO., LLC, et al.,1                                )   Case No. 10-93904-BHL-11
                                                                     )
                              Debtors.                               )   JOINTLY ADMINISTERED

        ORDER GRANTING OKIE'S MOTION TO DISMISS OKIE CHAPTER 11 CASE

                     This matter is before the Court on Okie's Motion To Dismiss Okie Chapter 11

 Case [Docket #962] (the "Motion") filed by Okie2 on January 10, 2012. Pursuant to notice, any

 objections to the Motion were to be filed with the Court by February 22, 2012. The Court,

 having considered the Motion and having found that adequate notice was provided and that no

 objection or request for further hearing was filed, and being duly advised in the premises, now

 finds that the relief requested in the Motion is in the best interests of the estate and should be

 approved. Accordingly, it is hereby ORDERED, ADJUDGED AND DECREED that:

                     A.       The Okie Chapter 11 Case is dismissed.

 1
     The Debtor entities are Eastern Livestock Co., LLC and Okie Farms, L.L.C.
 2
     Capitalized terms not defined herein shall have the meanings ascribed to such terms in the Okie Approval Motion.
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                B.     The finality and res judicata effect of any and all orders entered in the

 Okie Chapter 11 Case or the ELC Chapter 11 Case prior to entry of this Order shall remain in

 full force and effect and shall not be affected by the dismissal of the Okie Chapter 11 Case.

                C.     The Trustee is authorized to and shall pay any U.S. Trustee fees resulting

 from the filing of the Okie Chapter 11 Case.

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